                      Case 22-2993, Document 60, 05/12/2023, 3514928, Page1 of 1

                    UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                          ORAL ARGUMENT STATEMENT (Local Rule 34.1(a))


         TO REQUEST ORAL ARGUMENT, FILL OUT THIS FORM AND FILE IT WITH THE CLERK
                WITHIN 14 DAYS AFTER THE FILING OF THE LAST APPELLEE BRIEF.
     IF THIS FORM IS NOT TIMELY FILED, YOU WILL NOT BE PERMITTED TO ARGUE IN PERSON.

Short Title of Case: Lexington Furniture Indus., Inc. v. The Lexington Co., AB Docket No.: 22-2993

Name of Party: Lexington Furniture Industries, Inc. d/b/a Lexington Home Brands

Status of Party (e.g., appellant, cross-appellee, etc.): Plaintiff-Counter-Defendant-Appellee

Check one of the three options below:

                I want oral argument.                An attorney whose preference depends on whether other

            ✔   I want oral argument only if
                                                     attorneys will argue should consider conferring before
                                                     requesting argument. After the appeal has been
                at least one other party does.       scheduled for oral argument, a motion by counsel to forgo
                                                     oral argument, even on consent, may be denied.
                I do not want oral argument.

If no party wants oral argument, the case will be decided on the basis of the written briefs. If you want oral
argument, you must appear in Court on the date set by the Court for oral argument.

    The Court may determ ine to decide a case without oral argument even if the parties request it.



If you want oral argument, state the name of the person who will argue:

       Name: Lucy Jewett Wheatley

        (An attorney must be admitted to practice before the Court in accordance with Local Rule 46.1.)

If you want oral argument, list any dates (including religious holidays), that fall in the interval from 6 to  weeks
after the due date of this form, that the person who will argue is not available to appear in Court:

June 26-29; July 3-7, 20-21; July 31-August 4




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Filed by:

       Print Name: Lucy Jewett Wheatley                                           Date: 5/12/2023

       Signature:    /s/ Lucy Jewett Wheatley

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